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  Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &        FOR COURT USE ONLY
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  Special Litigation Counsel to the debtors,
  Scoobeez Global, Inc
       Individual appearing without an attorney
       Attorney for: Scoobeez Global, Inc.

                                             UNITED STATES BANKRUPTCY COURT
                                    CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

  In re:                                                                        CASE NO.: 2:19-bk-14989-WB  (Jointly Administered
                                                                                with Case Nos. 2:19-bk-14991; 2:19-bk-14997)
   SCOOBEEZ, INC., et al.                                                       CHAPTER: 11

                          Debtors and Debtors in
                          Possession.
                                                                                NOTICE OF LODGMENT OF ORDER IN
   Affects:                                                                     BANKRUPTCY CASE RE: MOTION FOR
                                                                                RELIEF FROM AUTOMATIC STAY (docket no.
       All Debtors                                                              452):
       SCOOBEEZ, INC., only
     X SCOOBEEZ GLOBAL, INC. only
       SCOOBUR, LLC only
                                                                 Debtor(s)


PLEASE TAKE NOTE that the order titled ORDER
                                     DENYING MOTION FOR RELIEF FROM THE AUTOMATIC
STAY UNDER 11 U.S.C. § 362 was lodged on January 18, 2020 and is attached. This order relates to the motion
which is docket number 452.




           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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 Email: sokeefe@okeefelc.com
 Special Litigation Counsel to the debtors,
 Scoobeez Global, Inc. and Scoobeez, Inc.

     Attorney for Movant
     Movant appearing without an attorney

                                          UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 In re:                                                                       CASE NO.: 2:19-bk-14989-WB   (Jointly Administered
                                                                              with Case Nos. 2:19-bk-14991; 2:19-bk-14997)

                                                                              CHAPTER: 11
  SCOOBEEZ, INC., et al.
                                                                                      ORDER DENYING MOTION FOR
                        Debtors and Debtors in                                      RELIEF FROM THE AUTOMATIC STAY
                        Possession.                                                       UNDER 11 U.S.C. § 362
  Affects:                                                                    DATE: January 7, 2020
                                                                              TIME: 10:00 a.m.
      All Debtors                                                             COURTROOM: 1375
      SCOOBEEZ, INC., only
    X SCOOBEEZ GLOBAL, INC. only                                              PLACE: United States Bankruptcy Court
                                                                                     255 East Temple Street
      SCOOBUR, LLC only
                                                                                     Los Angeles, CA 90012



                                                              Debtor(s).

 Movant:      Rosenthal Family Trust UTD 3/25/1988 (Joinder filed by Shahan Ohanessian)

1. The Motion was:                  Opposed              Unopposed               Not Prosecuted
2. The description of the Property or Nonbankruptcy Action to which this order applies is as follows (specify street address,
   legal description, personal property description or Nonbankruptcy Action): The motion prayed for an order clarifying or
   confirming that the automatic stay did not apply to, or bar the purported calling and noticing of a special shareholders
   meeting held by certain shareholders of Scoobeez Global, Inc. on November 1, 2019, and the stay did not apply to, or
   bar the actions allegedly taken at this meeting.
3. The Motion is denied:                 without prejudice              with prejudice            on the following grounds:
    a.         Based upon the findings of fact and conclusions of law made on the record at the hearing
    b.         Unexcused non-appearance by Movant
    c.         Lack of proper service
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     d.         Lack of good cause shown for relief from stay
     e.         No stay is in effect under:
          (1)        11 U.S.C. § 362(c)(2)(A)
          (2)        11 U.S.C. § 362(c)(2)(B)
          (3)        11 U.S.C. § 362(c)(3)(A)
          (4)        11 U.S.C. § 362(c)(4)(A)
     f.         Other (specify):




4.        Movant may not file another motion for relief from the stay in this bankruptcy case absent a court order
          authorizing the filing of another motion.




                                                                           ###




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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is: 130
Newport Center Drive, Suite 140, Newport Beach, CA 92660.

A true and correct copy of the foregoing document entitled: NOTICE OF LODGMENT OF ORDER IN BANKRUPTCY
CASE will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and
(b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
January 18, 2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:


                    Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On January 18, 2020, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.



                    Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on January 18, 2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                    Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

  1/18/2020                      Sean A. O’Keefe                                                /s/ Sean A. O’Keefe
  Date                           Printed Name                                                   Signature




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                                                                    NEF LIST


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